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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 15–16–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 NATHAN GLEN KIRKLAND,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 29, 2015. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Nathan Glen Kirkland’s guilty


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plea after Kirkland appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to count one of the possession with the

intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1) (Count

III), as set forth in the Superseding Indictment. The Defendant agrees to the

forfeiture of $24,950 in United States currency as specified in the Plea Agreement.

In exchange for Defendant’s plea, the United States has agreed to dismiss Counts

1 and II of the Superseding Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

58), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Nathan Glen Kirkland’s motion to

change plea (Doc. 48) is GRANTED and Nathan Glen Kirkland is adjudged guilty

as charged in Count III of the Indictment.

      DATED this 15th day of October, 2015.




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